              Case 3:17-cv-02162-EMC Document 302 Filed 05/27/22 Page 1 of 2



     C. ANDREW WATERS, ESQ., CA Bar No. 147259
 1   MICHAEL CONNETT, ESQ., CA Bar No. 300314
     KAY GUNDERSON REEVES, ESQ, Pro Hac Vice
 2   WATERS, KRAUS & PAUL
     222 N. Pacific Coast Hwy, Suite 1900
 3   El Segundo, CA 90245
     310-414-8146 Telephone
 4   310-414-8156 Facsimile
 5   Attorneys for Plaintiffs
 6   BRANDON N. ADKINS
     U.S. Department of Justice
 7   Environment & Natural Resources Division
     Environmental Defense Section
 8   P.O. Box 7611
     Washington, DC 20044
 9   Tel. (202) 616-9174
     brandon.adkins@usdoj.gov
10
     Attorney for Defendants
11
                              IN THE UNITED STATES DISTRICT COURT
12
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN FRANCISCO DIVISION

14
      FOOD & WATER WATCH, INC, et al.,
15                  Plaintiffs,                       Case No.: 17-cv-02162-EMC
16
                       v.                             STIPULATION AND [PROPOSED]
17                                                    ORDER REGARDING
      U.S. ENVIRONMENTAL PROTECTION                   SCHEDULING
18    AGENCY, ET AL.,
19
                                Defendants.
20
21           WHEREAS, the Court scheduled a status conference in this case for June 7, 2022 at 2:30

22   p.m. and ordered the Parties to file a Joint Status report by May 31, 2022;

23           WHEREAS, the parties understand that the National Toxicology Program (NTP) will be

24   releasing its systematic review on fluoride neurotoxicity soon, but possibly not prior to June 7,

25   2022;

26           WHEREAS, the status conference would likely be more constructive if held after the NTP

27   releases its report;

28



                                                                              CASE NO. 17-CV-02162-EMC
                                                         STIPULATION AND [PROPOSED] ORDER RESCHEDULING
             Case 3:17-cv-02162-EMC Document 302 Filed 05/27/22 Page 2 of 2




 1          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and
 2   among the Parties:
 3          The status conference currently scheduled on June 7, 2022, will be continued one week to
 4   June 14, 2022, at 2:30 p.m.; and
 5          The parties shall file a joint status report on June 7, 2022.
 6
     Date: May 27, 2022                    /s/ Michael Connett
 7                                         C. ANDREW WATERS, ESQ., CA Bar No. 147259
 8                                         MICHAEL CONNETT, ESQ., CA Bar No. 300314
                                           KAY GUNDERSON REEVES, ESQ, Pro Hac Vice
 9                                         WATERS, KRAUS & PAUL
                                           222 N. Pacific Coast Hwy, Suite 1900
10                                         El Segundo, CA 90245
11                                         310-414-8146 Telephone
                                           310-414-8156 Facsimile
12
                                           Attorneys for Plaintiffs
13
14   Date: May 27, 2022                    /s/ Brandon N. Adkins
                                           BRANDON N. ADKINS
15                                         United States Department of Justice
                                           Environment & Natural Resources Division
16                                         P.O. Box 7611
17                                         Washington, D.C. 20044
                                           Tel: (202) 616-9174
18                                         Fax: (202) 514-8865
                                           Brandon.Adkins@usdoj.gov
19
20                                         Attorney for Defendants

21                                             *       *       *

22          PURSUANT TO STIPULATION, IT IS SO ORDERED.

23
24   DATED this ______ day of ________________, 2022.

25                                                 ________________________________
26                                                 EDWARD M. CHEN
                                                   United States District Judge
27
28



                                                                                CASE NO. 17-CV-02162-EMC
                                                           STIPULATION AND [PROPOSED] ORDER RESCHEDULING
